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                                               EXHIBIT 4
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          ȉʒ Y­ήĕȐĄʯ ®ŌήĬĭήˮή¯°ήΐή ǎ̾ή˯ʳήV±ήȑʂo²˜5³eōή´¤ʰq-Ċǖήµ˰ ¶ƟήɏͦāήƆήɗ|ήiɩήǏͧ ΆήʴǮȋĖήJ)ήȢr΃ήʊȼʋΑ΋fήǜ·hŎͨ¸ʖ·ή̟īĀüĩ÷øή
          ΉȒ¹Ūūº̥jg»ήƽʵƦήƭ̜Β̦ΓΠʶήΡǍήȓ]kȷ¼ŏʪήAʁ̷͐¥+ėήǟ͑ġƮήŬUήʷˎȹ͇ͩ˝Ģ̸ήɻ̧̘ήLʫĘx6Ƚή˘˓ʗǫήʸ'ήʓήƯͪʌ½"ʹ͒tή
          ƔŽŀŐ̊˱ŭŮ˲"Ⱦ§ή˄Mȍǅή^kMȣʺɘɐήƂő2ŁƇήƼȤ̨¾ĂȥΈήžɑͫŒœˑȮ ήǵȦt\ή _ή "ʘuή>.ή ˅ˆʻ΢ ɒęή^ģ͓ʼ̩ə̪ήư̋ͬ˳͈+¿ήǋȔή

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          ˚ȡή ` ͮÇή
                 ĲĳħήÈ Éή&ÊήƱͯˠ̮Ķe¨ήpɧƙ'ʃËûĈĨÌή˛ή͠ɚήƲ(ÍŖͰˡɍήɃͱˢ̯ÎxƓή͔ʑɛήˍȟƠǐƕΖCή#ήȨήİıήʍNz`Oή vH͉ήýĴĵþ́ήpɜ̤zù̹Ïή
          Ð̌ˣÑήɳǧƖʲήy͊ή Ųų͕9Òήn̰ή͋VÓήͲ̠ ̺̀ͳlή΁ή͚̆hͅɼ̙ˤ5ήʕή7Ôήɪʹˇήǯ˒ΗΥafʉή̛ΦƗƿ¬ĜήȊ̗Đʀ̱ɄÕήXɝή@l̓©*ήΧʧqÖ¢Θήȩʿή
          a,ή×ĔØ6ŴňÙŗήɅȪ̀ÚŘřΨή͵ήŚ ή̲ǩ̄ɨήśŃήR̻ƚ˥ͶǙ̍ήmɫή˦ ʣŜ{˧ήdmȯˀ )ήɆWH$ʨPΙήΚKjήJΛήŝή̎ÛLͷ$ɖƏήXή͡ɞή
          ͌̏ʬήZʄή͆ȲÜċǝʭή

                   ǀήɴ,Ý˨Qήˏ ːήͣήĉĪŞÞή ή¦8̉ßēćúƌ˩à˴şήǑʮή̳̐ήΩήƨʅ$ɇ˪Ɍήńήɟήɠ˵ή#ɬ%KáήƄήȳʙˈˉʞ˶ʆή̡-r˔EĝήC ˖ή
          âđÿ͸ŠãΎ7ή}ĽǇʟΊήäǁǠåŵήȴɡήTήʥsæŶ Όή̑ɭήǸ1ŋή\ȕȖή 'ή ʎNήšŷ ă ʤ͹ήǂǹą!;ͺ͍ɈήʚOʇ̴ΜʠĎĒήR˕Ğήȫğç΄Ĺ͘Qɓή ŉήbPή
          ƝƢɉ;ήŢŊήǡȝȞ/ήȰͻΝ] èȠ̵ǚήé!Ɋ ήţȺή˷ê̇ë΀Ťͽg˫ƜƎɢdìźcήɔȬwĸ0ήŅť ʏ˸ʈήͿʢ_ήȸTή(E͜͝ήUɣή̢8ͥŸ; ƛƣ̃Ƥή#ɮήͤή
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                 uɽĻ ñĠήȘȜbʛȵήvʔήƈήΪòˊˬΫή̽ď˻̓ǒ0ήάơƳήɎŦ¡IZ˗͗9ήƞɯήƴȭɿǓƵ̶ )ήóȶIˋήŧ21ņŇ4ήǌșȚή Ǳʜʐ˼Ǜή::ήȻή˙sή
          ̔͢ή̣̼iôYʡ΂Ώή̕ɰή͏Wɤή@̖[Ƨ.ͼ͂*ΞήƅƊƋήǣǲ˃ήȀȈǷƪǤήBɱƍĦA=ǥήǾȏțŨƶƺήGǉǗƫȂ=έG Źǿ~ǴήDǘ ɹɺή


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           Ƕ˽͙SǔήŻήũή ǞɋȌήƬ̞ɥ̅ķή                                             ˾˿͖SǕǭ˭͟Ć    ǳɲĿɾή
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                 December 19, 2022                                                                    




                                                             EXHIBIT 4
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                                            ˻ѝxǩ‫ٯ˂܂ۇ܂ע‬؊‫܂‬ԡɊùԢԣў?ɯ؋‫܂‬՘֏‫˨܂‬ŮֶՔַғ‫˖܂‬Ŀиٔ‫܂‬ɢs·ʸ‫܂‬ǮѹѺǪíƥƔ‫܂‬
                                           ȷ‫ף‬йż˗ș‫ۡ܂ۈ‬ŲӀ ٘֐ҋ‫܂ڧ‬/ÿԤŉ9֑‫܂‬ɓͺÀԅռ‫ۊۉ‬Ĕ‫ ܂‬ʷ̒‫ ܂‬õTٙƊϬЩ‫פ܂‬ǴÈƑқŞ‫܂‬k ȭ‫܂‬

      ˣęń‫܂‬îĀۢ‫܂ڈ‬ɱ‫܂ر‬čņ{ԈȆʅ‫܂‬Ǡк̓‫ۋف܂‬Ë‫ ܂‬ƦȬĚ‫܂‬ήφ‫܂‬ʆ،Ρ ‫ؙ‬ł‫ی܂ڨ‬¤‫܂‬ʰÌċ‫܂‬ʙ‫ץ‬ɣлÈĎЪۣ‫֒܂ۍ‬μӁ‫܂‬ʶȸ‫܂‬ƅ‫܂‬8̔‫؛‬ĕ‫| ܂‬£ȇȖϦ‫؝܂‬ʒ'‫܂‬ƧЌ‫ ܂‬կ‫ڶ‬ě‫҄ٷ҃ێ˼܂̺܂‬äЫ‫܂‬
      ‫ئإں‬ćş‫܂‬мۤн‫܂‬ɈÒ‫܂ڔ ܂‬ʄ‫܂ۏ‬ն‫܂ۑې܂‬І֓ӕŠ‫܂‬ʪ‫͞ڦ‬Ӗ‫܂‬дѰٍ‫˲܂ڻ܂‬ѭďʾ‫=|܂‬ӂˌ͟±‫̕܂‬ѻѼʱ‫*܂‬π‫`܂‬û‫ٶ‬ΐծ‫܂‬

                 ˽˾оп˺ʗ‫˿܂‬š‫ ܂‬р)‫܂‬ɑ‫צ‬ĜҢֽŐ̰H‫ھ‬ĝ‫ק܂‬Ԝ‫̖܂‬3ʑ‫܂‬ͷ¥ԓМAԥӗƨ‫ͼ܂‬χ‫܂‬ʚӘ}΃‫܂‬Ǭ¥Bxƕ͠i‫܂‬ә‫܂‬A+ί‫܂‬Ȯǒ֔Ș̀Ь‫¡˵܂‬Ϡ˟K‫̪ ܂‬ԔǎQǵ̗ȝ‫܂‬έ‫ي܂ר‬ο‫܂‬ȹ‫҈ء‬²Ӓ‫ל܂‬գ.‫܂‬ȵ ‫܂ۥٽ܂‬³ϴς‫܂‬
      ‫ؚث‬L B֕‫̘ ܂‬0‫܂ۦ܂‬         Џ´ʇ‫܂‬ψ‫܂‬ğĠ֗‫܂‬ٚӚΑΰ֘‫جש܂ ܂‬Ϫ‫܂‬r‫܂ת‬µ+9‫܂‬ϝý‫׫‬ġӛ‫¶܂׭ۨ֙׬‬ĢƫָϘ‫܂‬gɔƆ‫׮‬Ӝ}‫۩܂‬Hə‫܂‬Ƭ3‫̙܂܂‬ԝ¯‫͕ׯ܂‬Иӝ‫܂َ܂̚׈‬Օ΢1ɚ‫܂‬Όǲ‫ ܂‬Ԧ:‫܂‬ң‫܂‬Ӟ~́‫܂ے܂‬Üʂ‫܂ۓ ܂‬ǧ‫܂‬
                  ԎƩ‫܂‬Ƃۧ‫֖܂‬ƪͽĞ‫܂‬
                      ‫܂‬
      EϣÍå‫ ܂‬ӟԕăØĈˊЭ‫܂‬Îԧϵ L̛֚‫ ܂‬ϟǐѸЃŝс‫ڕ‬ƭ‫܂>¦܂ڀ‬Ҟ¢Ɛ‫܂‬ΒԨֹǇ6ׁ‫܂ךؽ‬ŗj‫܂‬

        ̀̊џ‫װ‬ɧ‫́܂ط‬ê‫ ܂‬Ʈ´‫܂‬Ⱥ‫ٺ‬Ÿ̑Ҥ҇ɽ˳͂͸µ֛sӠ‫܂‬Âٛ϶ȓϮ‫ֻؔ{͡܂‬ȔQƖ‫܂‬DШ‫ױ‬ӡս‫ة‬Ӣʈ‫܂ײ۔܂‬тН‫܂‬ҝ‫«܂‬ƯǌƠ‫͢܂‬6‫ږ‬Ƕ۪֜Γ‫܂‬#Æ‫܂‬Cα‫܂‬Ȼհ ̭΋‫܂چ׳܂‬ջ‫ ܂‬ʉӑ‫܂‬ʮ‫܂‬
      ۫Уʲȣ‫܂‬уӣ̏g‫܂‬ɕω‫܂‬Ï‫̓ڎ‬վ; ʹ‫ؠ‬ΧɌĊ‫ ܂‬7<‫͝܂‬Ӥư‫܂ح‬j¿ʓɲʽ˝Vɰģ‫܂‬

               śˉ̂̃‫ ܂‬ƱƲƳɨѴȅϞþm‫ڸ‬ź‫ق܂‬β‫܂‬։̈́ȟѬ‫܂‬Ӄŀ‫܂ز‬      ȼըļԃ‫܂‬
        ֝ԩ֞Ĥĥ‫ʺ܂‬ϊ‫܂‬ɛ̋!˃ʡф‫̌ ܂‬ůçbҎ‫˞ ܂‬ϿȡÓÔÕÖ‫܂‬ř͗Ț‫׋܂‬2տӉ‫״‬Ԫ‫׵܂كڗ܂‬Ѕ‫ە§ڏ܂‬ϳ‫܂‬Ѡѡƴ$ЮͣƵ‫܂‬ӥդ‫ͅ܂‬ǾGӅ՜‫ؗ‬Ǒ‫܂׶‬՗‫>ض‬³ƣ‫܂‬5 ֌‫ډ‬Ńá‫غ‬àö‫܂‬ƀH̜еʁ‫܂˧ ܂‬
      х̄ǈӦ‫܂‬ӧϙѢ‫̷֟܂‬Ϸu­‫܂‬ʀ‫̍܂‬ѣԫ̝̞‫܂׷ژ‬ɠϩŢ‫܂‬ll_‫܂‬Ýɾæ‫܂‬Ǣǉ‫܂‬ԬТ‫܂͘܂˩اڠ܂‬ЙвϋӋΔԭŌ‫܂‬aԮҥրԯӨ‫ˏ܂ک‬Ԇѿٜؕ?‫܂־‬ʞŋƟĦƶO‫܂‬

       !M‫̅܂‬ok˘ȯȽ"Ȁ‫܂‬ѱÛʢ ^ʛɬˍ‫؜˙"^܂‬ȊɳȰ‫_܂˦ ܂‬ȥ¹ө¬̬԰‫וۖڿڪ‬ДȧΩ‫ڙ‬Ù÷ɻÐā‫׸܂‬,ž·‫܂ل‬ħթţ‫܂‬ҒΕǷ̟Ա‫ښ‬ƏАԟ‫܂ۗ܂‬Җͤ‫§҉ ܂‬Ҧц‫܂‬ԲόԳցҁ‫ؖ‬ȗγ‫܂‬Хύ×ã‫܂‬
      ЈƷѲ IǙ‫܂‬ƈҘ‫?܂‬σ;3‫ڝذ܂‬Ň‫܂̲۬܂ۀ‬ǯơʊɎ˜‫܂‬ʣҧͥ‫܂‬Դώ‫ڐ܂‬őٝìӪ0̫Ė‫ ܂‬%‫ٻ‬ԍρ ƢS‫܂‬Ћ‫ ܂‬ϡëЯ‫؟‬ˠ‫܂‬ʤҨƉRŻ‫܂‬Ⱦٞ<Ã‫܂‬Ե֠‫܂‬Ƹ‫ڷ‬ǜɩ‫܂‬ːْե‫ ܂‬ɴȱ‫܂‬ɵ‫܂‬tԗ‫܂‬ǚ‫ͦ܂‬ԶҩևG‫˸܂ͧعז‬З+‫܂‬AФ‫̐܂‬WŴŔ‫܂ח‬
      ǰĨ‫ ܂͵׹‬ٟۘ̿‫܂‬%‫ٰ؍ڊ‬Ԗ‫܂‬Ǥ‫ ܂‬ʥʩ‫܂‬ˑۭ‫܂‬ƹۙǭŤ‫܂‬

       ѤѥP‫˪܂ !܂‬ч̆Ѧoȏш‫ ܂‬Ɨƺ‫˕܂‬qnҠp"ʻŚ‫܂‬d p΂ʦ̇‫܂ۮ ܂‬ȿȤփ‫ګ‬ïĩ‫ٌۚ܂‬ԷΦȂҪ͆‫܂‬țȠ֍¼S:­‫܂‬BĪĺX‫܂‬җ‫܂‬yԂҿ‫܂ͨ׎‬ǔгȪâ‫«܂‬%F‫׆‬4ɪ‫م܂ۛ܂‬δ‫˄܂‬Ըۜī½‫܂‬ԹϏ‫܂‬
      `¦֡ϸʯзɖ‫֢܂‬ϹԐŘ‫®܂‬²ա‫܂‬ҔО˫‫܂‬5Ȉ2Ǹ٠ ѵȫ).Ȟʭ‫܂ً܂‬ЉԇŁͻ‫܂‬щϢՙĬ¸ӓԺ̠‫¡΄܂‬ъ̡ЖȎ‫܂‬ƇԻҜҫ֣Ζ‫܂‬¹‫܂ػ‬ɶɫ˭ǿ‫˒܂‬ȕĄыƒ‫܂˓܂‬ʎ؎ȨN‫܂‬

      ɺ̎ť‫܂‬úʼ̈֤ˬȴŵĉɒ‫܂‬Ȳ‫܂‬Ăɤ‫ ܂‬ðTnèьqmˎʧČɭ‫˚ ܂‬,\‫܂‬aԼ¬̯J‫֥ ܂‬ŏĻ&ȩ ͜‫܂‬ϯ,Ѯ‫܂‬՛‫܂‬ӐҬ‫܂=ۯ‬ҙ1ͩ‫܂‬b‫ڡ‬ժ$Ͷ‫܂‬ϐē‫\'܂ͪن‬ΤԄɉ‫܂‬۰U‫¨נ‬Ѐ՚ҭ‫܂‬£ ϑ5 ԑÚǍ‫׺܂‬À‫܂‬ǣĭ‫܂‬
      ȳiʐӍӏŽ‫܂ڬ̹܂‬ɟЊ‫܂‬Η‫پڼ‬ƻŰv‫܂‬Σ‫׻ٱ‬Ώ -̢‫܂‬Ǜ‫ڤ܂‬ҕ‫܂‬ǟĽ‫܂‬ԉ э‫׼‬ų‫ٵ‬ʳ‫܂‬Խ֦‫ͫ܂‬ԾǦжҏ‫܂‬Р‫܂‬Ϻ‫܂۝‬Կ¸ӇӈÊ‫©˅܂‬ƼuV‫܂‬ՀϒcՁ‫͇׌‬Ղ‫׃‬Þ‫ ܂‬cՃ‫͈׍‬Ȓ۱‫܂‬Ǟ‫܂͉ب‬
      բſ‫ͬ܂‬Ԛ&ֺ‫ם܂ٲ‬/‫܂͙܂‬ΨӄԒӫ΅‫܂‬Ƅа‫܂ڭ‬zÇ‫܂‬ˁ‫ ܂‬իˈľRėñ‫܂‬

     ˤҮ‫܂׉ش‬Ԍ‫ٸ‬Å‫܂‬ǳɀ‫׽܂‬Մ‫܂‬8֧Ӕͭ‫܂ ׾܂‬fÁ‫ص‬Ǖ‫܂‬WƘ‫܂‬ճ‫خ‬Ӭюɐ‫̳܂‬ҍòɁ‫܂מ܂‬ՅϓȦ ɋIӭЄǊƽ‫܂‬҂¶Ȣʋя(ΘҌͮϥZĮ‫܂‬ү˶h‫܂҆ؾ܂‬rҰք‫ͯ֨܂ڵ‬°įİˡ‫܂‬ɞϧ͊ұ‫܂@أ‬ϔ‫܂׏‬
     ̱Ў֩‫܂‬ѳŷ˴ͰӮ‫܂۞܂‬Ն‫̩ه‬ŕոҲε‫܂‬ւ®‫ڃ‬ҟ‫܂‬ˮY˯ü‫܂‬ϫ¯‫ ܂* ܂‬Ύ‫ڮ‬Ŧ‫܂‬ѐÅ‫܂‬Ɓ‫܂‬ƾōŎ‫ڑ‬ϲŧ‫̣ ܂*׿܂‬ҳ֋Ę‫܂ہ‬ʏՖ(‫ ܂ב‬7 ‫܂‬Ä̤‫؀‬ı‫܂)܂‬ӯÆ‫܂‬ԙ͔‫܂ؼ‬ƿ‫܂گۅ܂‬۲Œ֪‫܂׊܂‬ǀ¾ӆCʔ‫܂ڰ‬
     Ҵϕɍʝɘ‫܂‬ǁٓ‫܂‬Ӱ[ؒǂ͋͌Ϊ‫܂‬Ή‫ـ‬1Ȍȋ‫܂‬ҵӱ‫יڟ‬ŜʨóͱƋ͹F˷‫֫؁‬ʘ‫¿܂‬4‫܂‬º͍ζ‫Ϳׂټڇ֬܂‬O‫܂‬

     ˥'‫܂‬ɏF‫ס‬խ‫܂‬ǃ‫ן‬9Շ‫܂‬Ι١ѧ؏‫܂‬Đ»ʕ‫܂ځ‬մ];t٢‫܂ڋ‬Ո֭‫܂‬E ‫܂‬ϖ̴Κ٣Ç‫܂א̥܂‬Ί٤ّº‫ ܂‬ɷɗƓ.‫܂טؤ‬Ҷ‫܂‬Ã6͎۳‫܂‬ϻΛǹ‫܂>ظ‬շ‫܂‬ЇՉԏœ~‫܂‬-ʫչʬ‫܂‬ɸѽѾ‫܂‬ɝɂɜ‫܂‬Պđ‫و‬η‫܂‬d̽ǡЧ‫ڱ‬Ñ‫܂ג‬
     Ӳ‫܂ٿ֮ؿ‬Z[‫܂۟܂‬К/‫܂͖܂͚܂‬e ϾȄӳӴ٥‫֯܂@܂ۂ‬ʴօ‫ٹ‬Б͏ϼٖ‫܂¨ ܂‬ɼʠȁ‫̦܂‬С٦ձ‫܂̾܂‬ё͛‫܂‬fÁąƤϚ ǝ‫̧܂‬ֆǨͲ‫ ܂‬C‫܂‬Ƀʿ0˹‫܂‬Ä-‫܂ى‬ǄUʟϛѫ‫܂‬ɄӵτwN‫̉܂‬ՋҷǺΫȃ‫܂ت‬ӎ˱Ć‫آ܂‬պ‫܂‬
     υ‫܂‬ђ‫څ‬DP‫܂‬#GŹX‫܂‬v۴‫܂‬Ԟ‫͐܂‬ªǏ‫؂‬Έ‫ُ܂‬Ĳ‫܂‬2άְňĳԘ‫܂‬ϤէѨؐ‫܂ڂ‬ҸĴΜզ‫܂‬øӊҹȍΝ‫܂ڛ‬Ռ<‫܂‬ǖ٧ǗǘѩҺϰ‫܂‬һ‫؃‬ѓϱՍE՝ª‫̻֎ ܂‬Ҽ۵‫܂ׅ‬ɥ‫د‬ɅВǻ‫ۃ‬ǼՎĵ۶‫܂ڲڥ‬Ҁ©‫܂‬Ѝѯ‫܂ד‬ѷЁ‫܂‬Ӷ‫ڌ‬լͳֱô۠‫܂‬
     յՏѶ˰‫܂‬YԠՐǥˋֲєƍĶ΀

     ϗ‫ »܂‬ҡ‫܂‬ɆΞЦ‫ ܂‬Ϩґ‫܂‬؄7‫ٕ܂‬°‫܂‬۷;˛‫¼̵ؓ܂ׄڽ‬Ցӷ‫܂̨܂̶ۆ̮ڞ܂‬Ԋȉ‫ڄ‬4۸б‫͑܂‬ԋȑŨ‫܂‬Ӹ՞‫(܂ِ ܂ؘ‬٨Dԛ‫܂‬Ǳ‫܂‬ΥŶ‫܂כڳ‬ƌhѪθֳ‫܂‬ӹ՟ Еؑʹ‫܂‬#J‫܂ۄ‬ЂҚ‫܂‬ɡ‫ڍ‬ũ‫½܂‬ν‫܂‬e̸8Ȑ¢‫҅ڢ܂ڴ‬ՒӺ‫͒܂‬w‫܂‬ƃ؅‫܂ ܂‬
     Ĺ‫܂͓΁ٳ‬ӻֈŊ‫܂‬٩‫܂‬΍ӼŅٗ‫ִ܂‬:ՠ٪·‫܂‬ѕП±‫܂‬٫¤ξ=‫܂̼܂‬ƎÉĒ@M‫ڣ܂‬Ǔˢ‫܂‬ҽ۹‫܂‬ӌ٬ʌ‫܂‬ΟʜղіҾ‫؞‬ʖƙ‫܂ۺ‬K؆ϜéŖ‫٭‬ǽŪ‫ٮ܂‬ӽϽ‫ڜ܂‬λy‫¾܂‬ÂӾι‫܂‬ӿ‫֊܂&س܂‬zїκ‫ٴ܂‬ű$‫ׇړ‬ū‫܂‬




                                                                                           
                                                                       ˆԀԁǅƚʍ‫܂‬ʵŬ‫ۼ܂ۻ ܂‬ΆҊʃ‫ ܂‬ɿ‫ ܂‬ŭ‫܂۽ ܂‬ß‫ ܂‬             
                                                                       ֵ؇ǋ]‫܂‬        ˇ‫ה۾‬ГΠ؈‫܂‬         ϭƛ‫ڹ‬ķĸɮɇ‫܂‬       
              December 19, 2022                                        ɦјȜ‫܂‬          ɹ‫ۿ  ܂ڒ‬Ɯǆ‫܂܀‬
     ȶՓЛּљ‫܂‬؉њ‫ ܂׀ֿ܁‬ƝћǫƞќҐ˔ˀ‫܂‬




                                                                  EXHIBIT 4
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                          ½ÐâÒAƟǏǽĒßǽŝǽøǽÙǽüqċÂǽǽ ×ºŰǐǽŞîŃÃǽǽÚćÄČïǽnǁýčǽ²ǽáǽ şǽÏþǽāżŽB®ǽ

           ĆCǽ¾ĸǣƃǽŐj ǰǽƩrDƄǽEFŀņGǽ¿Ņǽx yǽ
                                             k őzƅǽžǂĢƪHpǽ IJǽ12ǽķǷǽǽãǗŠ8ǽ«¼sǽĞ ǽäƓǽŘKǽ{|ǽLīǽìMǃǘNO(ǽƤ ePQǽ
           ÅƔſƥåǸǽŇƫǽÍƣƬǽ 9ǽÛǽ æǽôƕĠĜĔŻǽ¦ÀRǭ$©:tǽðǽÆǽĖǽÇǽƖSň¹ƀ+çǽ#%ǽİuTǙǽ}~ǽ±&ĎŎUhǽš ǽǄŉVǽÈ¨·Ǳƭǽ
           ³Ʈ;ƦŢƗǅǚ$Ưǖư<ǽ 7)ģźŵţ=ǽŤơƻ)ťǆèǽ ǽÕėŦ´Źǲ>ǽǶıǟŧƼŶmŨǽĘ Ŝǽ ƆũǽÁWǽØªŪĲXǽūĹǑƹŋľƱǽÉƘƇƎŒ?YǽŚďǽ


           àŁǽǇǽùǮ ǽęǽƲ'!Ĉ¬ĤŬǽ,-03ǽĥ ǓǢĳv@ǽ"fǽ&ǽÊƙƈiǫ6ǽǽõƚŭǛ¡§śǽÓƒǳĦĊZǽñòËǽ# ǽǒōǽÔƛ!ƠƺƁĬǽ
           ú/ēǽǽ Ƨ£ƐĮǽÿǈįǽĚ ǽÑƂřǽĀǴ»¸ǽµêǽǥǽƜǉǽěƨ¢Ŕ% [ǽĺĴǽǩǽǊŌĿǽíǹƽǡųǪǽ5Ǡġ\¯ǽǬĐǽħ]ǽÌƝǋöűŲǯĉƉ^ǽ
           ǺǽŸĨǽƳǜƊƴǀǽńƵǽƋÎǽ_ĩŷŏ`oǽƢǽĭǔǤó(ǽû'ĕǦ4ƿǽĄ­ łǽƌëǧƶǵÜǽÖƷdƸǻÝǽĂƍŕĻǽǌœǕǽăǽŮǽǝğǍƾgaǨǽ
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                                                                          *ƞǎĽĵǽ÷lƏ¶wǽ
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               December 19, 2022                                      ¤Ƒ¥cǽ    ÞǼǽ đǽ   
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                                                          EXHIBIT 4
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       ͻәԬࠝ ʻֲؕԭ‫ٮ‬ΰЇ‫½ޭߪ ࠝ܄‬Ʋࠝ őǴࠝ ±¤ȡŒࠝ ̫œ čĮࠝ ̙αŔࠝ ȢɵǙࠝ ɰXɊȣࠝ ҽ߫ࠝ ǩࠝԎŕࠝǬǭƹࠝ ̲Ŗֳ‫ۃ‬OŗҾࠝs‫ ࠝٯܴص‬Řǣ͟!Ԗ̃̄Ŋࠝ Өٰ‫ࠝޞִؖ‬ʡ4ՊцࠝřƊǊƺࠝ         
                                                                                                                                  ŚǏƓƻոࠝޮ ޯȨ̂ࠝࠝ
       ΟՋ‫އ‬QԞࠝ թûáԗSƼࠝ ǋ̅ʼƽࠝ ˲̎ࠝͅ ˯ࠝΖࠝwˑΫࠝΠΡࠝ ˵ࠝ͑‫ڻۅۄ‬Ƒࠝt˶ࠝΗ̺ࠝ rʰ̳ࠝ͠ ‫ ࠝ ࠝۆ‬ͺࠝ ˧ࠝ̚նқࠝ ˷ǌͱ̛ ÿśࠝ ԏΓUࠝ ɳ˸ͧȤɸࠝ ŜǤࠝ µðࠝ Ƙࠝۨӿްࠝ ҿ‫ ࠝڝ‬ĂġăĢĶĄĔࠝ ŝǱ 
       ԮЈ‫׮‬ʊʗࠝ ‫ ࠝޱ‬Љ9ࠝŞࠝ ԯࠝ
                       ޲‫¯ࠝݨ‬FB̻ࠝşࠝ

       άࠝ԰Ҝֵ‫ࠝڰۇ‬ҕ۩Ӏɺࠝ
              ˮٓࠝˠ‫ڠ‬9ࠝYɕ ǹƶ̬Åܵ‫ࠝ ֶؘࠝؗ‬ѓԪࠝ ֱɻє̼ࠝĜ‫ޤ‬Њ‫׭‬ȀַԱ޳ࠝϙࠝǖG߬‫ٱ‬և‫ࠝݚס‬өGЋֈ2үÛࠝЌّ¯̦ܶɯɼVࠝ©߭ࠝҝԚ¶Ӂ‫ࠝ޴܊‬ӭ‫ ࠝ̥̤޵ؙࠝۈ‬ěࠝ&‫ۉ‬ӂࠝϕࠝ‫ࠝٲ¦"ؚ‬Šܷࠝ ¡‫ָز‬Ñ‫ގ‬âࠝ

                ߮ࠝłࠝ߯޶Ã߰ࠝ ޷߱Ʊࠝ ‫ࠝܧ‬ԲܸÂ‫ۊࠝݲ‬Dࠝ‫ࠝܞ‬ʽ֧‫ܨ‬5šࠝ‫׸ݣ‬ÄҵܑࠝѻࠝӃɽGBࠝɦҞࠝ~ȥǽࠝ ,ْ‫ܭ‬ȆƧïࠝƾࠝȂࠝ‫ݩ˖ ࠝ<ܒ‬յº ‫ࠝٳ‬ÅҶØЍࠝ ߲ࠝŢԟн ҟ‫ ࠝهڙ‬Ӡբࠝ -ֹܹդࠝ‫ࠝ͘ۋ‬
       ߳‫ބ‬Ɨţ IࠝʾߴҠ޸ࠝ޹ԳȍÆߵÙѕࠝ ‫֤ײ‬ƕ ƙ9ࠝÏÎo ӄϏ‫؀‬Ťࠝٗࠝ16‫ ע‬ť6ࠝ Ԁ΅ࠝ‫ڡ‬ɖðzHҴࠝ ӝԉіࠝİɪ MŦࠝїΥࠝ ͋ìܺјŧ‫͝ ࠝސ‬ȦϡԴձࠝ ͨäֺ ԁ‫ ࠝݛ‬e‫ك‬Ǿʇǥ޺ԛ޻$ࠝȧȿɀࠝ ¢̽ࠝљ ЎJ։ɾࠝ
       ώʠͿ‫߷޽ࠝ߶ࠝ޼ ࠝޥ‬ɏࠝ‫گٴ‬Z=ԈчࠝӢ֊ֻࠝ‫ی‬ӴࠝѹՌࠝ ̌ࠝ٬Ø‫ޟ¨ۮ‬њࠝϴùࠝ ѶѼࠝʿñћԵļ Ǧࠝʚӣަࠝ‫ڪ‬òƞ վ‫ݠ‬çƒࠝ ޾hࠝ 'Ȕɓࠝˀú‫ ࠝޑ޿׻‬ԶÈѫɗʞí‫ࠝغݥٵ‬ՍĬú‫܆ٶ‬$ࠝ ּ̜քࠝ%ࠝ
       ǵŨࠝ

               ͽࠝg˚߀߸ާࠝ Ԝࠝࠝ ‫ܻݹٷ‬Ӆࠝ ̈ʵ̉ࠝ ɫ‫ ࠝٹلۀ ࠝٸ‬Ȩࠝ °ࠝ±β̈́Џࠝ‫@ٺ‬АБËВࠝ‫؎ٻ‬Ҽࠝ Oǡ‫׶‬ѳࠝ‫ ࠝܓ‬Ҭ‫֦ژ‬#ࠝ‫؛‬Ńࠝńӆî۴ࠝ-‫ࠝط¡ ࠝߺ߹ܢي‬ѽÆࠝ ֋߁ՎՏ߂/ࠝ‫ټ‬ГֽFlࠝ‫؜‬ҡࠝՙbࠝ ؔ[Ӈȩ߃߄ࠝ



            
       ‫ ࠝ˩ڮ‬ȪϾࠝKԂ֌Ѿࠝͤӈࠝ‫ށ‬Ĳրࠝ ܼࠝ‫֍ن‬Д֎ɿЕѯࠝϗࠝ ‫ ښ‬ÌܽÇ‫ݢ‬Ǡ‫ܡ ࠝک‬Ұ‫ֿܾࠝ־‬ǒ'ࠝ åÚ‫֏ٽ‬ª͆N7̝ࠝ‫ݾ‬Íࠝ ΁ࠝ»ً‫ܔ‬ȓࠝ߻ؑ‫ۍ‬фࠝ ‫ࠝ٘؝‬ҫ¸Θģ‫ࠝޒࠝޣ‬7&‫ێ‬ӛǜ‫ࠝת‬Ɣࠝ‫ ࠝ؞‬æũࠝ
       Y؄͐ƭܿȫࠝ սࠝȬѐ‫۪ތݜ‬гùࠝå¥èࠝ ˁ‫ؼ‬ȭͷʱĎįïƿࠝ ͼ‫ࠝۏ‬3ыࠝ‫ܕ‬ʋ‫ࠝ֐ڱࠝې‬ęࠝӷӦµ@ࠝ Ͽࠝ ߼ࠝ‫ࠝܩ‬ϰ‫ࠝ ר‬Ж‫ڟ »¼؟‬ƫࠝ‫ݳ‬Ԩࠝ¶Ր݀Ūࠝ ُǓʆhࠝ ‫ڿ‬Ĺa``ࠝ Ӊࠝçӥࠝ x‫پ‬ѿࠝ ߅‫׀‬ū݁ࠝ Ɂɂࠝ
       
                uϷࠝʛԫ‫ ࠝ؂ۑ‬ʜ؇ۭˬʪࠝȊ©ׁࠝ֡ǝƤࠝϽ؈γࠝ߆ֆ·³ࠝ՚ʬࠝ ߇IҖÂE۵۶،ࠝŬÙҀ‫ࠝ؍‬Ǎԃࠝ‫ؠ‬ٙ‫(݂ڨ‬φƏɧôࠝɷɹȝࠝ߈‫ڲء‬%ࠝɴࠝąē kࠝ٤?չǀࠝ ߉‫ع‬:ࠝi̊ࠝ‫̘ࠝ ࠝ´ވ‬ʢӊŭࠝʩdlࠝ
       ӖҨࠝ‫ߋߊ˂ ߽ࠝے‬K‫ ࠝ݃م‬л‫ڔ‬ϊϑ;ࠝ‫ڳ‬ռќyׂࠝ ‫ ܂܅ ֑ࠝآ‬pЗߌNɃȮ߾ࠝ sҁQĝࠝâ˃‫׃‬ΆĭӜ}ׄࠝ pb˰΋ǛɄWࠝߍӸ݄ȯʌࠝ ӹ3¹Aࠝ ҂‫)ݪؽ‬Ȱ·°҃ࠝ NϲИࠝ!Ó݅Ů‫ ࠝ ࠝۓ‬шѝδ߿‫ݧ‬PࠝԐ‫۔ࠝٿ‬Ӌůߎࠝժ֢Z‫ܮ‬Ȉǁࠝ
       vӯࠝΑΌࠝд ؅‫܌‬ĵա ࠝяH٨ࠝ‫¨ڴ‬՗ࠝ‫܃‬ԑࠝԒϢίЙ‫ڬ‬ўࠝ ̗ࠝÛ݆̹ϟ¹ŎࠝѨ‫¾ࠝہس‬ǞŰ®υ‫ڥ‬Ǽòࠀ҄ࠝ [Ȝࠝх݇Ǹʎؒࠝ٫c‫װ‬ύϐ·ࠝʙࠝҢ՛ΧŁ‫ݯ‬ǂࠝε‫ࠝ\ߏ̨ࠝׯ‬ȏ‫ۯ‬ƩǷ/jࠝЀࠝ֫‫ݿ‬йࠝϣ‫ࠝޓ‬aࠝ֒ԓ̏ࠝÒÞࠝ
       ֪Jр‫ࠝ˨͖ׅࠝ‬Βmࠝ ͳȱz۫‫ ࠝە‬õࠝ ܎҅ࠝ Кʀ݈֓٥‫ݡ‬öࠝ 4‫ ࠝ؃‬ӶࠁࠝDÇࠝ ˄‫ݮ‬űۖ‫ݝ׆أ‬c‫˛ࠝڀ‬΍̕ѩࠝ !݉ӌިࠝ ǳǃࠝ ࠂңࠝ Ųäԍ<Ð}џߐ̋Rࠝ SƮɘəࠃࠝ ۗ«èࠝ Ǆ‫ ࠝځ‬΢ՑÐӍȃࠝǐǑࠝԠࠝ ‫܋‬ɚЛàмǅࠝ 0˹ǆ˅ࠝ
       ͩ݊ϮжѠϞ«Ɵ

                   u͇ࠝ‫݋ڂ‬éȋ‫ׇࠝ‬ȲĚԷؐԸ̮ň‫ھ‬Mӧࠝӫ ˔‫ܪݰ‬B7‫ࠝڃ‬ÁǿŋࠝԡࠝۘӎٚӲ‫ࠝܫࠝۼ‬Þ‫ࠄޡ‬êΙĤĻ ̯‫׿‬ȳМࠅࠝ‫݌‬ϔԔ ֭ࠝԹ£ʁ֔ࠝ՞ղ҆ࠝʣҤ‫˕ ܍‬Нľ‫ڞ‬2‫׈‬ƌƣߑࠝࠆ¤ࠇ̰Ԣųࠝ Ǣࠝ‫ࠝܤ‬
       Ӻ‫ ܈‬êࠝÑٛӏʨ֕ࠝ ϹŴࠈࠝ ըࠝʔϤȴ؏ࠝԺ‫ࠝ׼‬ԻӪࠝ˜ͥࠝ v¥҇ࠝeΤ‫̭ࠝݟ‬ɡࠝ.ٜߒ͡‫ޝ‬ĥࠝ{ٝÜ‫ࠝޠ‬۳ ‫ۙࠝ҈ܖࠝޏ‬Κ‫ݍ‬ɋǗ‫׉ؤ‬îɅǇߓۚࠝӐެࠝО֖ПÈࠝ ͈ࠝࠉРтՒΣީÚࠝ ɠĦ̐˗ࠝΈպ‫ܠࠝڄ‬
       ɑĐĆ ćǧƖࠝζAࠝӮࠝ,Ǫߔ̑ߕħߖࠝ 18϶Ƴdࠝ 'ȵࠝˡ˺ࠝͶĨ͢jʴ0ࠝ˱˻ 0ࠝ1Λĩˆࠝͪ΂ʸ tʶ̞͉ࠝͫ̾ŀ͔̆˼ %ࠝ wӚࠝˇóߗ‫ۛߘ֥ࠝ׳ܥ‬ĕߙߚࠝࠝ!ϠࠝLӑ҉ࠝ‫ޜ‬Μŵ‫׊‬ɢߛğࠝ+˥͗ɬPࠝҲ‫ࠝڅ‬
       ɆС‫ܯ‬Ӓʍࠝ ˝͒͞Ĉࠝ ;ǻӓŶƴࠝ ࠊࠝ˽ࠝ ‫ ܟ‬ɟǔʕࠝ ]֩ࠝ ‫۽ ࠝݺ‬ԌТࠝ ٞ‫ ࠝפף‬ǘɌ*‫إ‬Ôࠝ Òҥࠝ \ϥࠝ fÏ֮2‫ޔ׋‬ď¬ࠝ ʧࠋϦ‫̱۾‬ԕࠝ ߜࠝ‫٭ڛ‬OԼʂ‫ ࠝޕ׌‬ҮՕۜ:ࠝ‫މ‬ɛϧࠝ‫ܗ‬Ҋࠝ ̴ŷη‫۝‬θ‫چ‬ԣRࠝ ryϨ²Ԥࠝ
       ࠌԥƵࠝ ‫ػ‬ι‫ݎ׍‬ԙߝVࠝ 3ߞࠝ ٌҷ ߟࠝѪ‫̵ࠝރ‬ϼࠝ +¬ࠝª‫܀ࠝ׎‬ҳҚࠝ ̇Ôࠝ۞£<ࠝ У˴۟ࠝ۠ܳࠝiȉࠝͬФӔࠝǮƥզࠍࠝƚց ࠝ       ࠎࠝІࠝë¦ҋࠝ.‫ނ‬ȶ‫ࠝࠏ*ࠝڇ֯ئ‬ÜьϺࠐࠝ ӟôࠝߠࠝ͌ࠝ‫̿ڦ ؿ‬ʤˈѮࠝ
       ͲʑƯıΨԩ ‫ݏ‬ǲƠωÝٟκ‫ ࠝ׽֗׏‬ѡ)ҭHÀIࠝ ‫ א‬ãࠝХԄßࠝ ŉĉ΃կࠝٔࠝЃ‫ܛ‬Uࠝ é>Ҍࠝˉ‫ࠝ÷ב|ى‬4؋ࠝˊɍȑգߡ֘‫׹ݤ ࠝڈ‬ѸЂࠝ ϒ۸۹ࠝ λһҗҍࠝ Mϸࠝխࠝ.‫و‬ӻÉPࠝ ǯŸo/ࠝ Ц‫ݐגا‬É‫ ࠝݴ‬ȷȕࠝ
       Õͣɣࠝͦ՘Ĵƨˋ Ϙmࠝѷࠝ‫֙بۡݫډ‬ђࠝ ưުѢӼࠝ˘͓ˢΉ΄˾˙ࠝ ‫ࠝܬ‬ЅࠝŹCźЧҎǈࠝΪѵ‫ࠝڕ‬J‫̪ࠝד‬-Fؓ‫ה‬۰̀ࠝãóϳ̟ѣࠝҩϋࠝ‫ࠝ>ݵڵ‬Ѻ‫ں‬ѤࠝÖțΦ(ʐ­˪Ż͎ࠝࠝȸɒࠝ۱ӡҏࠝ˟ʲэࠝż‫ࠝݑו‬
       ̠‫܇‬ɜŌࠝ Ҧٕࠝ #ɔĞࠝӽ‫ګ‬μࠝ ȹ"ࠝ ‫ࠒࠝࠑࠝܐ‬KɭࠝÓ‫ ࠝז‬Ϛࠝ|ұνࠝ>Ґ ࠓࠝ‫ࠝݷڶ‬؆՟‫ࠝ׫‬ϯШ‫ؾ‬5ࠝࠔ۲ ‫ޢ‬ɐ&‫ۻޅ‬Wࠝ

               ͸ӱࠝf‫׷ݱ‬ξȁࠝЩϜ‫ࠝܦ‬ЪοÖ‫ض‬Löࠝ‫ݻ‬ґÝࠝ‫ͭࠝܘ‬Ыϩ‫ױ‬փࠝ‫ ֚ࠝ½?ࠝ׾‬ɨࠝ֛էࠝό;ࠝߢ˿ࠝ ΩŽșȚXࠝտΎࠝ Խ=ࠝߣࠝ"ƍºT =ơƛ‫ࠝޖ‬ѰƜࠝ Ċࠝ]‫^ކ‬ΐƋ@‫ࠝة‬
       ñ‫ࠕڋ¸͵ࠝܜࠝڊ؁‬о ʒ؉ࠝ ‫ࠝݒ‬ɥԾъæࠝõࠝ‫ܙ‬Ғࠝˌԝ‫¾ت‬ғ‫ڌ‬žࠝ ճࠝ‫ܲڧ‬ĺ̒ˣࠝDüࠝχ×ʓ8ߤ‫ࠝޗ‬ʘ‫֜ڜظ‬Ǻ‫ץ‬ӗÄ‫ڷࠝڍ‬ӳɇɈࠝ Ϫࠝۢ§ࠝ٠ϖࠝ ٦Ɛì‫ڤࠝݶ‬6CǕԇӕċÊࠝ‫ث‬Կࠝࠖࠗ‫ݓ‬ǉʃܱøࠝȇnࠝ
       ſϻ ³ࠝѱߥ֝‫טח‬Ɲࠝ ܏ࠝɮְࠝ֬‫ࠝ÷ܣ‬ϵȖ ѲE¿ՠࠝ πՀࠝ¢ࠝ ͮѥծ‫ج‬еࠝ Ӱࠝ ¿_‫)י‬+̣_đ^ࠝեՁӘ‫ش‬Ҹࠝnƀ֞ǨƁࠝ ۣ~Ֆʫࠝߦ‫ךݔ‬Ƣ¼Ь‫ ࠝכ‬ƂՂ‫ݕ‬A՝ࠝ Ɏ˳Ǝࠝ ̀ͯƃȟࠝԦΕࠝ Ӭࠝ
       ͍ۤࠝ‫ࠝف‬ψ×ߩ́˓ōĪࠝ‫׺‬ĿЭƄ‫ݖ‬Ѧࠝϝ­࠘ࠝL͊ࠝ‫ح‬Ҫࠝ٪ࠝ‫ڎ‬ҘË‫خ‬:ࠝ‫ࠝݗ‬ɲȗƅȠࠝՃΏࠝ

             ;ࠝ࠙ࠝȞࠝΊƸ‫םל‬Àࠝ؊ёϛ֟ւٖࠝࠝρҺ֠ҙࠝ‫ڭ‬Ёx‫ק‬ҹࠝȺȄࠝЮ§ࠝ‫ڸ‬уC(Ԋʉʝࠝ ϫЯ‫׬‬þլմʭΝƬࠝ١˞Ԙ͂Ʀ̢ǎࠝ ͹Ӟ‫ࠝ"{ٍˍࠝݭ‬ȅÌĽĘիࠝςÎѬࠝ‫ފ‬٩ࠚࠝщ´ࠝ
       ٢‫ލצڢ‬#ࠝࠛп˫$ࠝ‫ڣ‬՜ë۷Ã̩ࠝ̓ࠝհ ٣‫ࠝހ‬Ϭ‫ࠝޘ‬g‫̔ۿ‬Áàࠝߧ˦ࠝ‫ڼ‬ǟ‫ڽ‬ԧࠝ̍ŏࠝՄĠ‫ڗ‬ƪ‫دࠝޙ‬ŅࠝаՅņĳ̓Ʒࠝ5‫ࠝۂ׵״‬ʏ‫ˎࠝۥ‬б‫ݞ‬ԅāِȻࠝÕß֨Ȏ‫ࠝذ‬ɩࠝ‫ڏ‬сϓǶࠝ ࠝσϱ ή‫ڐ‬TࠝȘɝࠝ
       ̖ࠝѴҔࠝ‫ࠝܝ‬ǰࠝ®ࠝ‫ܚࠝڑݼ‬Ӿ‫ˏࠝڹ‬юE‫ږ‬Նࠝ8иʯɞʮǚ‫ࠝݬ? ࠝݘ‬ːَܰȌࠝƆ֣ԋࠝࠝƇÍࠝ ‫ࠝݸ‬ҧʦࠝĸʟࠝвՓՔкɉࠝ‫ދ‬Ӥʥ*ࠝȼɤ‫ࠝـ‬ϭ‫ࠝޚ‬ƈ‫ۺݦࠝ܁‬ӵ‫מ‬Ȓ̡ࠝĖ͚ėĒķČīޫ‫ࠝقࠝر‬
       Շօ ٧ ࠝ Єࠝ

         ̶˭ýࠝ΀ʄ˒̷Ξࠝ ͜qέࠝĀԆ۬ࠝ,qՈՉ͛ʳ́ࠝ Δࠝ



         ʹøʖࠝ      
                   ̸ûτ‫ۦ‬íշࠝʺáѭ‫ࠝש‬
                                                                               ˤ‫ޛ‬ʅࠝ

         Ƚ Ɖѧࠝ   ŇŐ‫ࠝן܉‬Ȑ͙ࠝǫࠝͰ‫ۧࠜ ࠝߨנ‬зʈ‫ࠝڒ‬
                   December 19, 2022
         ʷ‫ݙ‬ջࠝ͏‫͕ࠝړݽ‬²ɶȾࠝ̂ࠝɱkʹࠝ




                                                                 EXHIBIT 4
